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 5   Attorney for Plaintiff
                                UNITED STATES DISTRICT COURT
 6
                                         DISTRICT OF NEVADA
 7
     ANTHONY GARRETT, SR.,                               Case No.: 2:19-cv-01159-JCM-VCF
 8

 9                          Plaintiff,
                                                            STIPULATION AND ORDER FOR
10   vs.                                                     DISMISSAL WITH PREJUDICE

11   LAS VEGAS METROPOLITAN POLICE
     DEPARTMENT; OFFICER D. JAPPE,
12   individually and in his official capacity;
13   OFFICER J. BERTUCCINI, individually and
     in his official capacity; SGT. ANDREW
14   PENNUCCI, individually and in his official
     capacity; OFFICER ERNEST MORGAN,
15   individually and in his official capacity; LT. T.
     MELTON, individually and in his official
16
     capacity; DETECTIVE CEASER SEDANO,
17   individually and in his official capacity;
     OFFICER JASON ROSE, individually and in
18   his official capacity; LT. JOSHUA
     MARTINEZ, individually and in his official
19   capacity; OFFICER MICHAEL SANTOYO,
     individually and in his official capacity; DOE
20
     OFFICERS I through X; and ROES XI through
21   XX, inclusive,
                             Defendants.
22

23          IT IS HEREBY STIPULATED, by and between Defendants Las Vegas Metropolitan
24
     Police Department, Officer J. Bertuccini, Sgt. Andrew Pennucci, Officer Ernest Morgan, Lt. T.
25
     Melton, Detective Cesar Sedano, Officer Jason Rose, Lt., Joshua Martinez, Officer D. Jappe,
26
     and Officer Michael Santoyo, by and through their attorneys of record, the law firm of Marquis
27

28   Aurbach Coffing; and Plaintiff, Anthony Garrett, Sr., by and through his attorney of record, E.
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 1   Brent Bryson, Esq., with the law offices of E. Brent Bryson, Ltd. (collectively “the Parties), that

 2   the parties agree as follows :
 3
            1. Any and all claims with respect to the above-captioned matter are hereby dismissed
 4
     with prejudice as to Plaintiff Anthony Garrett, Sr., and Defendants Las Vegas Metropolitan
 5
     Police Department, Officer J. Bertuccini, Sgt. Andrew Pennucci, Officer Ernest Morgan, Lt. T.
 6
     Melton, Detective Cesar Sedano, Officer Jason Rose, Lt., Joshuan Martinez, Officer D. Jappe,
 7

 8   and Officer Michael Santoyo; and

 9          2. Each party will bear its own attorney fees and costs.
10          3. Out of state counsel, Jamon Hicks, Esq. is in agreement with the dismissal and his
11
     Motion to Dismiss is attached hereto as Exhibit “A”. Plaintiff’s counsel does not believe out of
12
     state counsel’s motion is valid for anything more than authorization to dismiss since he was
13
     never admitted Pro Hac Vice, thus unable to file documents in this case.
14

15   Dated this 11th day of May, 2020.                    Dated this 11th day of May, 2020.

16   E. BRENT BRYSON, LTD.                                MARQUIS AURBACH COFFING

17   By: s/E. Brent Bryson__________                      By: s/Craig R. Anderson________
        E. Brent Bryson, Esq.                                 Craig R. Anderson, Esq.
18       Nevada Bar No. 4933                                  Nevada Bar No. 6882
         7730 W. Sahara Ave., Suite 109                       Jackie V. Nichols, Esq.
19
         Las Vegas, Nevada 89117                              Nevada Bar No, 14246
20       Attorney for Plaintiff                               Las Vegas, NV 89145
                                                              Attorneys for Defendants
21
                                                  ORDER
22
                   IT IS SO ORDERED May   15, 2020.
                                    this ____ day of ____________________, 2020.
23

24
                                                _______________________________________
25                                              UNITED STATES DISTRICT COURT JUDGE
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                                                      2
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15                            EXHIBIT “A”
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